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Lauren C. Regan, OSB # 970878
Email: lregan@cldc.org
Marianne Dugan, OSB # 932563
Email: mdugan@cldc.org
Cooper Brinson, OSB # 153166
Email: cbrinson@cldc.org
CIVIL LIBERTIES DEFENSE CENTER
1430 Willamette Street, #359
Eugene, OR 97402
Telephone: 541.687.9180
Fax: 541.804.7391

       Attorneys for Plaintiffs

                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF OREGON
                                    EUGENE DIVISION

HASHEEM BOUDJERADA; KELSIE
LEITH-BOWDEN; DAMON COCHRAN-
SALINAS; ERIN GRADY; TYLER
HENDRY; and KIRTIS RANESBOTTOM;
                                                        Case No. 6:20-cv-1265
                      Plaintiffs,                       COMPLAINT
       v.                                               Civil Rights (42 U.S.C. § 1983)
CITY OF EUGENE, a municipal                             DEMAND FOR JURY TRIAL
corporation; SARAH MEDARY; SAMUEL
STOTTS; BO RANKIN; and DOES 1-20,

                      Defendants.




       PLAINTIFFS, by and through their attorneys, CIVIL LIBERTIES DEFENSE CENTER,

for their Complaint against Defendants, allege:

                                           I. INTRODUCTION

1.     This is a civil rights action arising under Title 42 of the United States Code, Section

1983. Plaintiffs bring this action for damages against Defendants after Defendants violated the


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First, Fourth, and Fourteenth Amendment rights of Plaintiffs on May 31, 2020. In the course of

violating Plaintiffs’ rights, Defendants, without legal justification, used chemical and impact

munitions such as tear gas, rubber bullets, and “foam batons” on an unarmed populace, and

arrested people without probable cause; and militarized police marauded around the City

terrorizing local residents, and – as a pretext to justify their vicious attacks on local residents and

protestors -- the City implemented a series of draconian, unconstitutional curfews. Plaintiffs

now seek compensation for damages caused by those unconstitutional actions, policies, or

practices.

2.     On May 25, 2020, George Floyd, an African-American, was killed by a Minneapolis

police officer, Derek Chauvin, who knelt on Mr. Floyd's neck for about eight minutes and forty-

six seconds. During that time, at least four other officers stood around and watched as Mr. Floyd

begged for his life and cried out for his mom. Mr. Floyd’s last words were, “please, please,

please, I can’t breathe.”

3.     Several weeks before Mr. Floyd was killed by police, Breonna Taylor, a Louisville,

Kentucky, EMT (also African-American), was shot dead by plain-clothes police who broke into

her home to execute a no-knock warrant. Police claimed they were looking for two people, but

those two people were already in police custody when police executed the warrant and shot Ms.

Taylor eight times.

4.     The killing of Mr. Floyd and Ms. Taylor unleashed a torrent of anger and frustration from

people across the United States and the world. Millions have protested and demonstrated, calling

for an end to white supremacy and the legal, social, political, and economic institutions that

uphold and benefit from systemic racism, as well as calling for an end to State violence against

all people.



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5.     In the U.S., demonstrations have occurred in every state for two months. Many of these

demonstrations were attacked by police using a variety of implements, including tear gas

grenades, OC spray/pepper balls, rubber bullets, and other projectiles.

6.     Like most cities in the U.S., Eugene, Oregon, was home to several protests and

demonstrations in the days after Mr. Floyd was killed. Demonstrations are still occurring in

Eugene.

7.     In response to these gatherings, the Eugene Police Department (EPD), like many police

departments around the U.S., used indiscriminate, brutal, and excessive force against

demonstrators and, in some cases, non-demonstrators that were merely in the vicinity of

demonstrations.

8.     The City of Eugene also responded to the demonstrations by implementing a series of

draconian unconstitutional curfews. These curfews provided a pretext for law enforcement to

maraud around the City in trucks and armored vehicles, shooting chemical and impact munitions

at protestors, journalists, passersby, and residences. The unconstitutional curfews also resulted in

the arrest of several people who were engaged in activity protected by the First Amendment,

exempt from the curfews, or not even in a prohibited area during a time prohibited by the

curfews.




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      9.       Upon information and belief, many of the spent munitions deployed by Defendants

       against the people were recovered and were found to be over a decade old and expired:




      10.       According to manufacturers’ guidelines, these expired munitions are unstable and

            increase the already serious health risks to those exposed to the chemical irritants.

                                        II. JURISDICTION AND VENUE

11.         This civil action arises under the Constitution and laws of the United States and this

Court therefore has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1342(a).

12.         Venue is properly vested in the Court pursuant to 28 U.S.C. § 1391(b), because the

actions giving rise to this complaint took place in the City of Eugene, Oregon, which is in this

District, and Defendants are subject to personal jurisdiction in this District.

                                              III. PARTIES

13.         Plaintiff Hasheem Boudjerada was, at all relevant times, a resident of Eugene, Oregon.

Mr. Boudjerada was arrested in Eugene on May 31, 2020, for allegedly violating one of the

curfews implemented and enforced by Defendants.

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14.    Plaintiff Kelsie Leith-Bowden was, at all relevant times, a resident of Eugene, Oregon.

Ms. Leith-Bowden was assaulted by Defendants on May 31, 2020, as further described herein.

15.    Plaintiff Damon Cochran-Salinas was, at all relevant times, a resident of Eugene, Oregon

and a member of the Student Cooperative Association (“SCA”) and lived at the SCA property

known as the “Campbell Club” on Agate Street. Mr. Cochran-Salinas's person and home were

assaulted by Defendants on May 31, 2020, as further described herein.

16.    Plaintiff Erin Grady was, at all relevant times, a resident of Eugene, Oregon. Ms. Grady

was arrested in Eugene on May 31, 2020, for allegedly violating a city-wide curfew implemented

and enforced by Defendants.

17.    Plaintiff Tyler Hendry was, at all relevant times, a resident of Eugene, Oregon. Mr.        Commented [CB1]: Hendry’s arresting officer is listed as
                                                                                                   “R. Underwood.” I found a detective Ryan Underwood with
                                                                                                   EPD, but nothing else (via google search)…seems odd a
Hendry was arrested in Eugene on May 31, 2020, for allegedly violating a city-wide curfew          detective would make the arrest. Should we name or wait?
                                                                                                   Commented [LR2R1]: Wait. Ive heard of him and them
implemented and enforced by Defendants.                                                            making arrests for sure..esp of activists—I think he’s jttf type

18.    Plaintiff Kirtis Ranesbottom was, at all relevant times, a resident of Eugene, Oregon and

a resident of the SCA’s Campbell Club. Mr. Ranesbottom's person and home were assaulted by

Defendants on May 31, 2020, as further described herein.

19.    Defendant City of Eugene is a political subdivision of the State of Oregon. The Eugene

Police Department is a department or division of the City. Upon information and belief, each

person who made arrests, deployed tear gas or other chemical munitions, or fired other

projectiles on May 31, 2020, was an agent or employee of the City of Eugene. On information

and belief, each and every decision to indiscriminately arrest and to deploy chemical munitions

and other projectiles at Plaintiffs was the result of a policy decision of the City of Eugene.

20.    Defendant Sarah Medary is the City Manager for the City of Eugene and an Oregon

resident. In consultation with the Eugene City Council (then as Pro Tem City Manager), Medary



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made the final decision to declare a state of emergency and imposed a curfew with input from

the Police Chief and staff in the field.

21.     Defendant Samuel Stotts is a Sergeant employed by the Eugene Police Department. Sgt.

Stotts arrested Plaintiff Grady on May 31, 2020.

22.     Defendant Bo Rankin is a police officer employed by the Eugene Police Department.

Rankin arrested Plaintiff Boudjerada on May 31, 2020.

23.     Defendant Does 1-20, inclusive, are unidentified sworn law enforcement officers who

committed the acts and omissions set forth in this Complaint, or supervised or ratified those acts

and omissions as agents or employees of Defendant City of Eugene. Plaintiffs do not currently

know the true names and/or capacities of Defendants sued herein as Does 1 through 20, and

therefore initiate suit against said Defendants by such fictitious names. Plaintiffs will amend this

complaint to allege their true names and capacities when ascertained. Plaintiffs are informed and

believe and, therefore, allege that each of the Doe Defendants is legally responsible and liable for

the incidents, injuries, and damages herein set forth, and that each of said Defendants

proximately caused said incidents, injuries, and damages by reason of their negligence, breach of

duty, negligent supervision, management, or control, violation of constitutional and legal rights,

or by reason of other personal, vicarious or imputed negligence, fault, or breach of duty, whether

severally or jointly, or whether based upon agency, employment, or control or upon any other act

or omission. Plaintiffs will ask leave to amend this complaint to insert further allegations when

such facts are ascertained.

24.     In doing the acts and/or omissions alleged herein, Defendants, and each of them, acted

within the course and scope of their employment.

25.     In doing the acts and/or omissions alleged herein, Defendants, and each of them, acted

under color of authority and/or under color of law.

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26.    In doing the acts and/or omissions alleged herein, Defendants, and each of them, acted as

the agent, servant, or employee, and/or in concert with, each of the other Defendants.

                                     IV. BACKGROUND

27.    On May 29, 2020, the people gathered throughout the City of Eugene in response to the

killings of George Floyd and Breonna Taylor.

28.    In the evening of May 29 and the early morning hours of May 30, a small number of

people damaged property at or near West 7th Avenue and Washington Street in Eugene.

29.    The City of Eugene and EPD pointed to the incidents of property damage that occurred

on May 29th and the early hours of May 30th, 2020 to justify six sweeping unconstitutional

curfews in the days that followed May 29-- three curfews with limited application and three

curfews that applied city-wide -- and the use of various chemical and impact munitions against

the people, including Plaintiffs.

30.    On May 31, 2020, the City of Eugene “enacted a temporary nighttime curfew in

downtown Eugene from 9:00 p.m . . . through 6:00 a.m. June 1." “The curfew appli[ed] to the

area from High Street to Monroe Street and from 14th Avenue to 4th Avenue.” That curfew was

announced on EPD's Facebook page a little after 6:30 p.m. on May 31. Not all residents of

Eugene use or monitor Facebook.




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Area subject to the downtown administrative curfew on May 31, 2020.

31.     “This [curfew] was extended to apply citywide at 11:00 p.m..”1 EPD’s Facebook page

announced the curfew at 11:08 p.m. Many people in Eugene did not receive any notice of the

curfews.

32.    The curfew did “not apply to credentialed media, people seeking emergency care, fleeing

dangerous circumstances, sheltering in place, traveling to and from employment or making

commercial deliveries.”2

33.    “Violating the city’s curfew order is a misdemeanor offense and is punishable by a fine

up to $500 or confinement in jail up to 100 days, or both fine and imprisonment.”3

34.    The City lacked legal authority to impose or declare punishment for violation of this

curfew order.



1
  https://www.eugene-or.gov/civicalerts.aspx?aid=4397
2
  https://www.eugene-or.gov/CivicAlerts.aspx?AID=4392&ARC=9123
3
  https://www.eugene-or.gov/civicalerts.aspx?aid=4397

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35.     Since May 29, 2020, there have been protests and demonstrations in Eugene nearly every

day and night, demanding much needed radical changes to local, state, and federal justice

systems, including demands to defund and disarm police and to dismantle the legal, social,

political, and economic institutions that benefit and perpetuate white supremacy and State

violence. There is no reason to believe that these protests and demonstrations will stop any time

soon.

36.     Throughout the evening of May 31, 2020, the Doe Defendants marauded the streets of

Eugene in armored vehicles and trucks, firing chemical and impact munitions from their vehicles

and on foot at people who posed no physical threat to person or property, including some of the

Plaintiffs, as discussed further herein. The Doe Defendants also fired projectiles at and into

homes without any legal justification, causing significant damage to residential properties and

their residents, including the properties of the Student Cooperative Association and the SCA's

residents, as described herein.

37.     Defendant Does attacked people, including Plaintiffs, who were not in violation of the

curfew, did not pose any threat to the Doe officers or to any person or property, and were

lawfully exercising their First Amendment rights. These people sustained physical and

psychological injuries, as discussed below. The violent actions of the police also put the people

of Eugene in fear, and gravely chilled them in their lawful constitutional rights to assemble,

petition their grievances, and protest.

38.     Prior to the curfew, the Defendants declared some gatherings as “unlawful” assemblies,

ignoring the constitutional requirements to make or enforce such declarations.

39.     Regardless of the legal status of the curfews (as will be determined by this Court), the

Doe Defendants also attacked and arrested people at places and during times where either 1) no

curfew was in effect, 2) it was not reasonable to expect people to be aware of the curfew, or 3)

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people were not given an opportunity to obey the curfew by leaving and/or going home if they

had one; and where the Doe Defendants lacked any reasonable or legal basis to use projectiles

and crowd control measures, and lacked probable cause for arrest.

40.      Broadly stated, there were three locations/incidents in which Defendants violated the

rights of Plaintiffs as set forth in detail below:

      BROADWAY AND OLIVE STREET/10TH AVENUE and WILLAMETTE STREET

                                  (Plaintiff Kelsie Leith-Bowden)

41.      On May 31, 2020, at or around 8:20 p.m., some of the Doe Defendants fired chemical

and impact munitions at unarmed, nonviolent protestors near the intersection of Olive Street and

West 10th Avenue, causing significant injuries to protestors and passersby. At around 8:20 p.m.,

Defendant Does exited their vehicles and deployed tear gas cannisters towards the people

exercising protected rights. Several protestors stood with their hands up, chanting “hands up,

don’t shoot.” Despite their pleas, Defendant Does fired a multitude of chemical and impact

munitions at the protestors. As protestors dispersed, Defendant Does chased the protestors, firing

several rounds of chemical and impact munitions at the fleeing protestors. The protestors were

not in violation of either of the two curfews that were set to take effect later that evening.

42.      Plaintiff Kelsie Leith-Bowden was one of the protestors present at or near 10th and Olive

when police used chemical and impact munitions against the her and other people. Ms. Leith-

Bowden was on a public sidewalk with her hands up, chanting “hands up, don’t shoot.” She also

carried a sign that read: “HANDS UP DON’T SHOOT” and “We live in a world where trained

cops can panic and act impulsively but untrained civilians must remain calm with a gun in their

face.”

43.      Defendant Does, after firing one volley of chemical or impact munitions, announced:

“Stay out of the roadway or gas will be used.” Ms. Leith-Bowden continued to stay on the

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sidewalk with both of her hands up, chanting “hands up, don’t shoot” when Defendant Does shot

directly at her several times with chemical and impact munitions. The projectiles hit her

midsection, and caused Ms. Bowden severe pain and injuries as depicted in these photos:




44.    Ms. Leith Bowden, while in extreme pain, tried to leave the scene. She turned away from

Defendant Does and fled. As she fled with the help of a friend, Defendant Does continued to fire

chemical and impact munitions at Leith-Bowden, hitting her at least once in the back of her leg:




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45.     Ms. Leith-Bowden was never placed under arrest, and officers lacked probable cause to

arrest her for any crime prior to, during, or after the time she was she was shot by Defendant

Does.

46.     As a result of Defendant Does' actions, Ms. Leith-Bowden suffered severe physical and

emotional injuries. She was unable to walk or carry out basic tasks without assistance for at least

a week after being attacked by Defendant Does. As a result of the injuries caused by Defendants,

Ms. Leith-Bowden was unable to work normal hours and was terminated from one of her jobs,

while her hours at another job were reduced from 32 hours per week to 10 hours per week. Ms.

Leith-Bowden has sought and received medical and mental health treatment for the injuries

caused by Defendants.

               353 EAST BROADWAY to 14th AND PATTERSON STREET

        (Plaintiffs Boudjerada, Cochran-Salinas, Hendry, Grady, and Ranesbottom)

47.     On May 31, 2020, at or around 10:57 p.m., at or near the East side of the parking lot of

353 E. Broadway (Whole Foods) in Eugene, Oregon, Defendants confronted several people,

including Plaintiffs Boudjerada, Cocharan-Salinas, Hendry, Ranesbottom, and another

individual. At this time, demonstrators (including Plaintiffs) were outside of the limited curfew

zone imposed by Defendants.

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48.    At or just before 10:57 p.m., protestors were told by Defendants that the parking lot was

private property and that they must move or face arrest.

49.    Protestors, including Plaintiffs, complied with Defendants’ orders and moved to the

public sidewalk.

50.    Immediately thereafter, at 10:57 p.m, Doe Defendants informed protestors, including

Plaintiffs, via loudspeaker announcement, of the City-wide administrative curfew that was set to

take effect three minutes later, at 11:00 p.m. This was the first notice of the unconstitutional

curfew given to people in the area.

51.    This announcement failed to give Plaintiffs and others adequate time or directions on

how to comply with the unconstitutional curfew in that moment, though some, including the

Plaintiffs, attempted to comply and began walking to their home (where, as discussed below,

they were attacked by Defendant Does).

52.    With less than three minutes warning, Defendant Does announced that if anyone was

outside after 11:00 p.m., they would be subject to arrest or chemical and impact munitions.

53.    Defendants’ threat to deploy -- and ultimate deployment of-- chemical and impact

munitions against people, including Plaintiffs, on May 31, constituted cruel and unusual

punishment. Defendants’ extrajudicial punishment of people was far more extreme than any

lawful sentence or punishment that could have been imposed for violating the curfew order (if

the curfew order was constitutional).

54.    Protestors, including Plaintiffs Boudjerada, Cochran-Salinas, Ranesbottom, Hendry and

another person immediately left the area for fear of arrest or violent attack by Defendants.

55.    Protestors, including Plaintiffs, attempted to leave the area by walking down East

Broadway toward Patterson Street.



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56.    Defendant Does followed the protestors, including Plaintiffs, in an armored vehicle

resembling a military tank (Lenco Bearcat).

57.    Shortly after 11:00 p.m. Defendant Does started shooting protestors with chemical and

impact munitions. Multiple people were shot with their hands up, yelling “I’m going home,

please don’t shoot.” Many people who were leaving the area were shot in the back.

58.    Plaintiffs Boudjerada, Hendry, and another person were walking on the sidewalk at or

around 11:20 p.m. on Patterson St. when they were violently tackled and arrested by Defendant

Does, including Defendant Rankin, for allegedly violating the curfew. As the curfew itself was

unconstitutional, Defendants’ seizure of Boudjerada and Hendry was likewise unconstitutional

and violated Plaintiffs’ clearly established rights under the First, Fourth, and Fourteenth

Amendments to the U.S. Constitution.

59.    Boudjerada and Hendry were transported and held in the Lane County jail for

approximately fifteen hours during the COVID-19 pandemic. All criminal charges filed were

dismissed soon thereafter.

60.    Plaintiff Erin Grady was also present near Patterson Street around the time of the arrest of

Boudjerada and Hendry.

61.    Grady is a crisis worker with the White Bird Clinic in Eugene, Oregon. At all times

relevant to this Complaint, Grady was volunteering as part of a “jail support” team that worked

to ensure that all people arrested during the course of protesting were tracked, their emergency

contacts notified, had transport from the jail when they were released, and were able to meet the

other needs that arise for arrestees while they are detained.

62.    On May 31, 2020, at about 11:00 p.m., Ms. Grady and other jail support volunteers were

present near 12th Avenue and Patterson Street in Eugene. The volunteers received a message that

a group of protestors were being detained and possibly arrested near their location.

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63.    Grady was aware of the limited curfew that went into effect at 9:00 p.m. The area that

Ms. Grady was present in was not subject to the limited curfew.

64.    Ms. Grady was never notified of any official order regarding a city-wide curfew.

65.    Grady and the other volunteers walked down a public sidewalk on Patterson Street

toward the group being detained, hoping to get their names and contact information. Grady and

her group stood about eight to ten feet away from the detained protestors. Grady explained to

Defendant Doe officers, including Defendant Stotts, who she was and why she was present on

the sidewalk.

66.    Defendant Doe(s), including Defendant Stotts responded by ordering Grady to leave the

sidewalk. Grady explained that she was on a public sidewalk, outside of the curfew zone, and

that she and the other volunteers had a right to be on the sidewalk. Doe Defendant(s), including

Defendant Stotts, then told Grady that a city-wide curfew was in effect and that she and the other

volunteers needed to leave immediately.

67.    Grady and the volunteers complied with the order and began walking back to their

vehicle. As they were walking back, one of the volunteers again tried to ask the people being

arrested for their names. Due to the distance between her and the group being arrested, the

volunteer had to raise her voice to ask for the names.

68.    Immediately after she asked for the names, Doe Defendants, including Defendant Stotts,

charged at Grady and the other volunteer and arrested them for violating the city-wide curfew.

69.    Defendant Stotts arrested Grady for violating the curfew order.

70.    Grady was held in the Lane County jail for approximately fifteen hours during the

COVID-19 pandemic. Ms. Grady was unable to make any phone calls until around 9:00 a.m..

All criminal charges filed were dismissed soon thereafter.



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71.    As the curfew order itself was unconstitutional, Grady’s seizure by Defendants was,

likewise, unconstitutional. Even if the curfew order was constitutional, Grady was complying

with Defendant Does’ orders and her arrest constituted an unlawful seizure. Upon information

and belief, Defendant Stotts arrested Ms. Grady because he perceived her to be a part of the

protestors or as punishment for the actions of another volunteer that was exercising their First

Amendment rights. In either case, Defendants, including Defendant Stotts, violated Ms. Grady's

First, Fourth, and Fourteenth Amendment rights when they arrested her for violating the

administrative curfew.

72.    As a result of their arrests, Plaintiffs lost wages in an amount to be determined.

                        ALDER STREET BETWEEN 16th AND 17th/
                       CAMPBELL CLUB and LORAX PROPERTIES

                         (Plaintiffs Cochran-Salinas and Ranesbottom)

73.    Plaintiffs Cocharan-Salinas and Ranesbottom were part of the group that vacated the

Whole Foods parking lot when ordered to do so by Defendant Does. Both are residents of the

Campbell Club. At some point, they were separated, after being subjected to gas from canisters

and pepperballs.

74.    After the city-wide curfew announcement, Cochran-Salinas and Ranesbottom separately

walked toward their Campbell Club home at 1670 Alder Street. Ranesbottom arrived before

Cochran-Salinas and went up to his room. When Cochran-Salinas arrived home, he sat on the

front porch and smoked a cigarette. At this time, there were no police present in the immediate

vicinity of the Campbell Club.

75.    As Cochran-Salinas was sitting on the porch at about 11:20 p.m., Defendant Does arrived

in front of the residence and started shooting various chemical munitions, rubber bullets, and

foam bullets at the residence. Simultaneously, another person was running by the house, yelling


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“please don’t shoot, I’m going home.” Another person, a friend of Campbell Club residents, was

running towards the Campbell Club porch.

76.      Defendant Does nevertheless continued shooting, hitting both people twice in the back

and hitting the residence several times.

77.      Plaintiff Kirtis Ranesbottom is also a resident of the Campbell Club and was in their4

room when they heard chemical/impact munitions being fired at their residence. They exited

their room and came to the front door of the residence. Cochran-Salinas and Ranesbottom

opened the front door to help the person who was running to the door, and Defendant Does

continued to shoot at the front door. As they were helping the other person get inside, an impact

munition struck the top hinge of the door, cracking the wood door frame and damaging the

residence.

78.      Defendants’ actions damaged the Campbell Club. Besides breaking the door hinge, the

chemical munitions fired at the windows of the residence caused the residence to fill with

harmful chemicals, causing pain, discomfort, and injury to Cochran-Salinas and other residents

of the Campbell Club.

79.      At or around the same time, Defendant Does, without any reasonable or legal basis, also

shot several chemical and impact munitions directly at the doors and windows of the property

next to the Campbell Club, the Lorax residence. The munitions caused damage to the residence

and injury to the residents. A resident of the Lorax opened the front door after Defendant Does

had shot several rounds of chemical and impact munitions and observed one Doe Defendant

pointing a gun at the front door. The resident closed the door. Then, a Defendant Doe threw a




4
    Ranesbottom uses they/them pronouns.

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chemical canister toward the house. The house filled with tear gas, causing injuries to the

residents and damaging the property.

80.      Remnants of the chemical and impact munitions were left behind by Defendant Does at

the Campbell Club and the Lorax.

81.      Doe Defendants' indiscriminate and malicious use of chemical and impact munitions at

the student residences was without provocation or legal justification and violated Plaintiffs'

rights under the First, Fourth, and Fourteenth Amendments to the U.S. Constitution.

                                   VI.     CAUSES OF ACTION

                                         FIRST CLAIM:
         MUNICIPAL AND SUPERVISORY LIABILITY (Monell - 42 U.S.C. § 1983)
           (First, Fourth, and Fourteenth Amendments to the U.S. Constitution)
                           By all Plaintiffs against the City of Eugene

      Count 1: Municipal Liability – Curfews Violating Plaintiffs' First and Fourteenth
      Amendment Rights

82.      Plaintiffs reallege each and every paragraph in this Complaint as if fully set forth here.

83.      The City of Eugene has an official practice, policy, or custom of using curfews to

prohibit and prevent mass protests and other activity protected by the First Amendment.

84.      There are two curfews challenged by Plaintiffs: the downtown curfew imposed on May

31 at 9:00 p.m. and the city-wide curfew that was imposed at 11:00 p.m..

85.      Defendant Medary implemented each curfew.

86.      The curfew orders were not narrowly tailored to achieve a compelling interest. Nearly all

activity -- protesting, assembling, traveling, walking, cycling, or simply being outside – was

prohibited during each curfew.

87.      Each curfew prohibited and suppressed far more speech, assembly, and other protected

First Amendment activity than necessary.

88.      Each curfew was, in effect, a prior restraint on free speech activity and assembly.

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89.    Each curfew lacked adequate notice as to both timing and method of notice to allow

residents, including Plaintiffs, time to comply.

90.    EPD Chief Chris Skinner said that the May 31 curfew “was not done in a timely fashion

to allow for some of the compliance that [the EPD/City] needed.”5

91.    Any alleged property destruction that occurred May 29, 2020, did not justify the near-

total prohibition on public activity. “Banning or postponing legitimate expressive activity

because other First Amendment activity regarding the same subject has resulted in violence

deprives citizens of their right to demonstrate in a timely and effective fashion.” Collins v.

Jordan, 110 F.3d 1363, 1371-72 (9th Cir. 1996).

92.    Defendants could have used other significantly less-restrictive means of addressing any

forms of property destruction that occurred during the protests. Defendants may enforce “other

laws at [their] disposal that would allow [them] to achieve [their] stated interests,” including the

criminal laws prohibiting damage to property and, if necessary as a last resort in narrowly

defined circumstances, unlawful assembly. Comite de Jornaleros de Redondo Beach v. City of

Redondo Beach, 657 F.3d 936, 949 (9th Cir. 2011).

93.    The situation here was similar to that addressed by the Supreme Court in Thompson v. W.

States Med. Ctr, 535 U.S. 357, 373, 122 S. Ct. 1497, 1507 (2002), in which the Court stated: “If

the First Amendment means anything, it means that regulating speech must be a last -- not first --

resort. Yet here it seems to have been the first strategy the Government thought to try.”

94.    The city-wide curfew order that prohibited all speech and assembly activity in a city of

over 170,000 is particularly overbroad, and the Constitution does not permit such a total



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 https://www.oregonlive.com/crime/2020/06/eugene-police-chief-pledges-reaffirmation-to-
police-reform-addresses-use-of-surveillance-drone-riot-control-measures-after-week-of-protests-
began-with-rioting-looting.html

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deprivation of liberty under the circumstances.

95.       Because the curfew orders prohibited virtually all presence and movement in their

applicable areas, they failed to allow for ample alternative channels of communication.

96.       People who were supposedly exempt from the curfews were attacked and injured by

police.

97.       People, including Plaintiffs, who complied with law enforcement orders regarding the

curfew, were nevertheless attacked or arrested by Defendants or as part of Defendants’ policy,

practice, or custom.

98.       People, including Plaintiffs Boudjerada, Grady, Hendry, Ranesbottom, and Cochran-

Salinas were arrested or attacked for alleged violation of the curfew, even when they were in an

area where no curfew was in effect; or were not aware there was a city-wide curfew that had just

been implemented; or were not given a reasonable opportunity to comply; or were complying

with the unconstitutional curfew by either traveling home or being at home.

99.       Many police officers appeared to be gleefully abusing the citizenry they swore to protect

and serve as they drove down streets as if they were in a combat zone engaged in warfare. Their

misconduct was particularly disturbing in light of the protests over State violence, police

brutality, and the illegal murders of black Americans.

100.      Defendants failed to provide appropriate methods, instruction, or guidance to officers

responsible for enforcing the curfew, including how to determine whether a person was exempt

from the curfew. This failure resulted in violations of Plaintiffs’ and others’ rights under the

First, Fourth, and Fourteenth Amendments to the U.S. Constitution.

101.      Defendants failed to supervise and train their employees and agents with respect to First

Amendment protected activity when such employees and agents are responsible for enforcing the

curfews.

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102.   The policy, practice, and custom of Defendants City of Eugene and Medary, as well as

their failure to train and supervise employees and agents, regarding the creation, implementation,

and enforcement of the curfews amounts to deliberate indifference to the rights of Plaintiffs.

103.   As a direct and proximate result of the actions and omissions described in this complaint,

plaintiffs incurred economic and noneconomic damages as alleged herein.

104.   The Plaintiffs intend to continue exercising their First Amendment right to protest on the

streets of Eugene. Given that the BLM protests have continued virtually unabated, it is

reasonably foreseeable that the Plaintiffs will once again be subjected to unconstitutional curfews

if the Court does not enjoin that overbroad, illegal practice.

105.   Plaintiffs were required to hire attorneys to represent them in this matter and are thus

entitled to an award of reasonable attorneys' fees and costs pursuant to 42 U.S.C. § 1988.

       Count 2: Municipal Liability – Unlawful Practice or Policy Allowing Indiscriminate
       Use of Force as a Tactic to Disperse Crowds in Violation of First, Fourth, and
       Fourteenth Amendments

106.   Plaintiffs reallege each and every paragraph in this Complaint as if fully set forth here.

107.   The City of Eugene has an official policy allowing the use chemical and impact

munitions against crowds or protestors whenever it determines that the crowd or protestors create

a “civil disturbance.” This policy permits law enforcement to use indiscriminate force against a

crowd of people in violation of the Fourth Amendment.

108.   Defendants have a policy, practice, or custom of declaring activity protected under the

First Amendment a “civil disturbance.” Even if the policy regarding civil disturbances is

constitutional, the actual practice and custom of the City and the Eugene Police Department is to

allow the indiscriminate use of chemical and impact munitions against a crowd even when the

crowd or a majority of the crowd have not committed a crime and do not pose a physical threat

to law enforcement or others.

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109.      On May 31, 2020, EPD used chemical and impact munitions on protestors as well as

passersby, and journalists, including Plaintiffs Bowden, Cochran-Salinas, and Ranesbottom.

Defendant Doe(s) also shot chemical and impact munitions at residences, including the SCA's

Campbell Club and The Lorax. Plaintiffs and others did not engage in any behavior that could

possibly justify the use of chemical and impact munitions.

110.      The City tacitly and explicitly authorized the indiscriminate use of chemical and impact

munitions against protestors and residents of Eugene, including Plaintiffs, on May 31, 2020.

111.      The authorization to use chemical and impact munitions on May 31 was part of a

decision-making process “communicated up through chain of command” from officers in the

field.6

112.      The City, acting pursuant to this policy, practice, or custom, unlawfully used chemical

and impact munitions against Plaintiffs and others as alleged throughout this Complaint.

113.      Defendant City of Eugene has failed to properly train its officers, agents, and employees

in how to address protests, protestors, mass protests, and has failed to properly train officer’s to

use an appropriate level of force; and/or has allowed numerous other similar incidents; and/or

has a policy or practice of allowing that level of force; and/or has encouraged or acquiesced in

this unlawful behavior, and/or tacitly encouraged or acquiesced in it by failing to train, supervise,

or discipline their officers, thus evincing deliberate indifference to Plaintiffs’ constitutional

rights, sufficient to support a verdict that those policies, customs, or practices caused the use of

excessive force against Plaintiffs.




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 https://www.oregonlive.com/crime/2020/06/eugene-police-chief-pledges-reaffirmation-to-
police-reform-addresses-use-of-surveillance-drone-riot-control-measures-after-week-of-protests-
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114.      Defendant City is directly liable to Plaintiffs for its unconstitutional policies, customs, or

practices; and/or for failing to properly train its officers.

115.      As a direct and proximate result of the actions and omissions described in this complaint,

Plaintiffs incurred economic and noneconomic damages, including lost wages, as alleged herein.

116.      Plaintiffs were required to hire attorneys to represent them in this matter and are thus

entitled to an award of reasonable attorneys' fees and costs pursuant to 42 U.S.C. § 1988.

                                          SECOND CLAIM:

       (First & Fourteenth Amendment – Curfews, Violation of Free Speech and Assembly, 42
           U.S.C. § 1983, by all Plaintiffs against Defendants City of Eugene, Medary, and
                                             Defendant Does)

117.      Plaintiffs restate and reallege each and every paragraph of this Complaint as if fully set

forth here.

118.      The limited, 9:00 p.m. curfew prohibited all protest and assembly activity within a

significant portion of downtown Eugene.

119.      The 11:00 p.m. city-wide curfew order prohibited all protest and assembly activity as

well as other protected activity and, as such, is overbroad and unconstitutional.

120.      Each curfew was an unreasonable time, place, and manner restriction on Plaintiffs' First

Amendment rights.

121.      Each curfew punished more speech, assembly, and other protected activity than was

necessary.

122.      Each curfew chilled or attempted to chill the First Amendment activity of Plaintiffs and

others.

123.      Each curfew lacked constitutionally sufficient notice to those subject to or impacted by

the curfews, including Plaintiffs.



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124.   Enforcement of each of the curfews enacted and implemented by Defendants violated the

First Amendment rights of protestors, journalists, and Eugene residents, including Plaintiffs.

125.   For the Plaintiffs who were arrested for allegedly violating the curfew (Boudjerada,

Grady, and Hendry), such arrests violated those Plaintiffs' Due Process rights under the

Fourteenth Amendment. Said plaintiffs were placed at additional risk of the COVID-19 virus by

being jailed in a facility that refuses to take adequate health precautions to protect detainees from

contracting the virus.

126.   Plaintiffs who were arrested for allegedly violating the curfew were engaged in activity

protected under the First Amendment when they were detained and arrested by Defendant Does.

Their activity included protesting and walking on a sidewalk.

127.   Defendants violated rights held by Plaintiffs which were clearly established, and no

reasonable person similarly situated to Defendants could have believed that such conduct was

lawful or within the bounds of reasonable discretion. Defendants thus lack qualified or statutory

immunity from suit or liability.

128.   As a direct and proximate result of Defendants’ policy and conduct, Plaintiffs were

required to seek medical treatment for their injuries in an amount to be determined at trial, and

will, in the future, be compelled to incur additional obligations for said treatments as a result of

their ongoing pain and suffering. Plaintiffs are entitled to economic and noneconomic

compensatory damages in a sum to be determined at trial.

129.   The actions of Defendants were recklessly indifferent to Plaintiffs’ civil rights, and

callously disregarded their safety and health, particularly in light of known risks to the health and

safety of Plaintiffs subject to tear gas and other projectiles and, moreover, the well-known

substantial risks to the health and safety of people exposed to expired tear gas. As such, punitive

damages should be awarded against the individual Defendants in a sum to be determined at trial.

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130.     Plaintiffs were required to hire attorneys to represent them in this matter and are thus

entitled to an award of reasonable attorneys' fees and costs pursuant to 42 U.S.C. § 1988.

                                             THIRD CLAIM:

        (First, Fourth & Fourteenth Amendments to the U.S. Constitution – Retaliation, 42
            U.S.C. § 1983 against Defendants City of Eugene, Medary, Doe Defendants)

131.     Plaintiffs restate and reallege each and every paragraph of this Complaint as if fully set

forth here.

132.     Plaintiffs were engaged in constitutionally protected activity when the Doe Defendants,

acting or purporting to act in the performance of their official duties as law enforcement officers,

pursuant to the orders and policies of the City Defendant and Defendant Medary, caused

Plaintiffs to suffer injuries that would chill a person of ordinary firmness from continuing to

engage in that activity. Upon information and belief, those actions and omissions, including the

implementation of the curfews and the violence used to enforce the curfews, were substantially

motivated by a desire to retaliate against Plaintiffs’ exercise of constitutionally-protected conduct

as well as a desire to retaliate against Plaintiffs’ for the actions of others.

133.     Defendants’ retaliation was motivated by evil motive or intent, involved reckless or

callous indifference to Plaintiffs’ First, Fourth, and Fourteenth Amendment rights secured by the

United States Constitution, and/or was done so wantonly or oppressively.

134.     As a direct and proximate result of Defendants’ unconstitutional actions, including the

implementation and enforcement of the unconstitutional curfews, Plaintiffs suffered injuries

entitling them to recover compensatory and punitive damages.

                                           FOURTH CLAIM:

       (Fourth and Fourteenth Amendments – Excessive Force and Deliberate Indifference to
          Health and Safety, 42 U.S.C. § 1983, by Plaintiffs Bowden, Cochran-Salinas, and
                     Ranesbottom against Defendant Doe Law Enforcement)


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135.   Plaintiffs restate and reallege each and every paragraph of this Complaint as if fully set

forth here.

136.   By their actions as described herein, Doe Defendant members of law enforcement, under

color of statute, ordinance, regulation, custom, or order, subjected Plaintiffs Bowden, Cochran-

Salinas, and Ranesbottom, to the deprivation of rights, privileges, or immunities secured by the

Constitution, namely, Plaintiffs’ rights to freedom from unreasonable seizure by the use of

excessive force by using chemical and impact munitions against Plaintiffs or their property.

137.   Defendant Does violated rights held by Plaintiffs which were clearly established, and no

reasonable official similarly situated as Doe Defendants could have believed that their conduct

was lawful or within the bounds of reasonable discretion. Defendant Doe members of law

enforcement thus lack qualified or statutory immunity from suit or liability.

138.   As a direct and proximate cause of the actions described herein, Plaintiffs sustained

economic and noneconomic damages, including physical pain and suffering; loss of liberty;

damage and/or loss of property, all to an amount to be ascertained according to proof at trial.

139.   The actions of Doe Defendants, as described herein, were malicious, deliberate,

intentional, and embarked upon with the knowledge of, or in conscious disregard of, the harm

that would be inflicted against Plaintiffs. As a result of this intentional conduct, Plaintiffs are

entitled to punitive damages against Defendant Does, in an amount sufficient to punish them and

to deter others from like conduct.

140.   Plaintiffs were required to hire attorneys to represent them in this matter and are thus

entitled to an award of reasonable attorney’s fees and costs pursuant to 42 U.S.C. § 1988.

                                            FIFTH CLAIM:

       (Fourth Amendment – Unlawful Arrest, 42 U.S.C. § 1983 by Plaintiffs Boudjerada,
               Grady, and Hendry, against Stotts, Rankin, and Doe Defendants


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141.      Plaintiffs restate and reallege each and every paragraph of this Complaint as if fully set

forth here.

142.      Defendants’ conduct described in this Complaint violated the clearly established rights of

Plaintiffs Boudjerada, Grady, and Hendry to be free from unreasonable seizures, including a

right to be free from arrest or detention without reasonable suspicion or probable cause under the

Fourth Amendment to the U.S. Constitution.

143.      The unconstitutional curfew orders described herein formed the basis for the arrest of

those Plaintiffs.

144.      Because Defendants failed to give adequate notice or otherwise allow people to comply

with the curfew orders, Defendants knew or should have known that arresting those Plaintiffs

would deprive them of their rights under the Fourth Amendment to the U.S. Constitution.

145.      As a direct and proximate cause of the actions described herein, those Plaintiffs sustained

economic and noneconomic damages, including loss of liberty, all to their damage in an amount

to be ascertained according to proof at trial.

146.      The actions of the individual defendants were malicious, deliberate, intentional, and

embarked upon with the knowledge of, or in conscious disregard of, the harm that would be

inflicted upon those Plaintiffs, such that an award of punitive damages is appropriate.

147.      Those Plaintiffs were required to hire attorneys to represent them in this matter and are

thus entitled to an award of reasonable attorneys' fees and costs pursuant to 42 U.S.C. § 1988.

                                        RELIEF REQUESTED

Plaintiffs respectfully request that this Court:

       a. Exercise jurisdiction over Plaintiffs’ claims and grant each of them a jury trial;

       b. Award Plaintiffs economic and non-economic damages, including lost wages, in an

          amount to be ascertained according to proof, and interest on said sums from the date of

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      judgment;

   c. Award Plaintiffs punitive damages against Stotts, Rankin, Doe Defendant members of

      law enforcement, and Defendant Medary in an amount sufficient to punish them and

      deter others from like conduct;

   d. Award Plaintiffs’ reasonable attorney’s fees and costs as provided by 42 U.S.C. § 1988;

      and

   e. Grant Plaintiffs such other and further relief as this Court deems just and appropriate,

      (including, if similar government behavior ensues, declaratory and injunctive relief).

DATED: July 31, 2020.

                                                    /s/ Lauren Regan
                                                    Lauren Regan, OSB # 970878
                                                    Email: lregan@cldc.org

                                                     /s/ Marianne Dugan
                                                    Marianne Dugan, OSB # 932563
                                                    Email: mdugan@cldc.org

                                                     /s/ Cooper Brinson
                                                    Cooper Brinson, OSB # 153166
                                                    Email: cbrinson@cldc.org

                                                    CIVIL LIBERTIES DEFENSE CENTER
                                                    1430 Willamette Street, #359
                                                    Eugene, OR 97402
                                                    Telephone: 541.687.9180
                                                    Fax: 541.804.7391




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